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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION




K.H., Individually and As
Parent of M.H., A Minor,

                       Plaintiff,

v.                                                                             1:20-cv-2215


BROWNSBURG COMMUNITY SCHOOL CORPORATION,


                       Defendant.


                             COMPLAINT FOR ATTORNEY FEES

       Plaintiff, by counsel, brings this action under The Individuals with Disabilities Education

Act (IDEA), 20 U.S.C. § 1400 et seq. and Indiana law (511 IAC 7-45-11) to recover reasonable

attorney fees incurred successfully prosecuting an administrative due process case against his

disabled son’s public school system (Defendant) in which he was the prevailing party. He was

forced to retain legal counsel in order to vindicate the civil rights of his son as guaranteed by

IDEA; specifically, its promise of a free appropriate public education (FAPE). Even though

Plaintiff prevailed on all of his claims, Defendant refused to pay his reasonable attorney fees,

necessitating this action.




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     In support of his Complaint, Plaintiff alleges:



                                                I.

                                           PARTIES

    1. Plaintiff is a resident of Indianapolis, Indiana and the parent of a child with a disability,

       his 7-year old biological son, M.H., who has been diagnosed with Disruptive Mood

       Dysregulation Disorder (DMDD), Attention Deficit Hyperactivity Disorder (ADHD) and

       Autism Spectrum Disorder (ASD). M.H. is a child with a disability as defined by 20

       U.S.C. § 140(3)(A) and 34 CFR § 300.8. At all relevant times, M.H. has been eligible to

       receive special education and related services through his public school system by reason

       of his disability.

    2. Defendant, Brownsburg Community Corporation (“the District”), is an Indiana public

       school district which receives federal financial assistance and maintains its principal

       office in Hendricks County, Indiana.

                                                     II.

                                           JURISDICTION

    3. This Court has jurisdiction over Plaintiff’s federal claims pursuant to 28 U.S.C. § 1331

       and 20 U.S.C. § 1415(i)(3)(A). To the extent Plaintiff has pendent claims arising under

       state law, 511 IAC 7-45-11 permits a prevailing party to bring an action for attorney fees

       in state or federal court. Therefore, this Court has supplemental jurisdiction over Plaintiff’s

       state law claims pursuant to 28 U.S.C. § 1367.




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                                                   III.

                                               VENUE

    4. Venue is in this District pursuant to 28 U.S.C. § 1391(b).



                                                   IV.

                  THE UNDERLYING ADMINISTRATIVE PROCEEDINGS

    5. The clinical diagnosis of DMDD has replaced what used to be classified in previous

       editions of the Diagnostic and Statistical Manual (5th Edition) (DSM-5) as childhood

       bipolar disorder. It is a childhood condition characterized by extreme irritability, anger

       and frequent, intense temper tantrums. Symptoms include severe, persistent irritability

       or anger, intensive outbursts three or more times per week which are grossly

       disproportionate (in severity and duration) with the situation and the child’s

       developmental level, verbal rages, physical aggression towards others and destruction

       of property. In a child with DMDD, even a relatively inconsequential event can trigger

       screaming and physical aggression.

    6. As a result of his condition, M.H. has a history of impulsivity, hyperactivity, defiance

       and almost daily disruptive and sometimes physically aggressive behaviors. His

       condition causes him to have intensive (sometimes violent) temper tantrums or

       “meltdowns” which include hitting, kicking and spitting on people, screaming, running

       away, using profanity and racial epithets, threatening to hurt or kill people, suicidal

       threats, hitting, being physically combative with school staff and healthcare providers

       when they attempted to restrain him, abusing animals and damaging property. He has

       displayed an unhealthy fascination with firearms, has difficulty distinguishing between


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       reality and fiction and fantasizes about his father (Plaintiff) dying and spiders devouring

       members of his family.

    7. After relocating from Mooresville in January 2019, Plaintiff enrolled M.H. in the District,

       where he struggled with the significant academic and behavioral challenges caused by

       his disability.

    8. Since November 2019, M.H. has been admitted as an inpatient in psychiatric hospitals

       several times, with his most recent discharge in May 2020. Since approximately July 1,

       2020, he has been at Chaddock, a psychiatric residential treatment facility in Quincy, IL.

    9. Not surprisingly, the behaviors caused by M.H.’s mental illness and described above led

       to disciplinary problems at school, at one point resulting in 33 incident reports during a

       44-day period and eventually leading the District to place him in its alternative school

       called Alternative Learning Program at Harrison Academy (ALPHA).

    10. The District failed to provide M.H. with an appropriate full-day program in one of its

       schools or a therapeutic day placement.

    11. After H.H. had a behavioral incident at school in January 2020 which was apparently the

       proverbial last straw, the District proposed putting him on a half-day schedule “for his

       own safety.” Doing so contravened IDEA and Indiana’s administrative rules for special

       education.

    12. Plaintiff disagreed with the District’s proposal for a shortened school day and retained

       legal counsel to challenge it. Pursuant to IDEA and Indiana law (511 IAC 7-45-3), on or

       about February 10, 2020, his attorney filed a Request for Due Process Hearing with the

       Indiana Department of Education (“Due Process I”) asserting claims arising under IDEA




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       and Indiana’s Administrative Rules for special education (commonly referred to as

       Article 7).

    13. Upon receiving Plaintiff’s request for an administrative hearing, the Indiana

       Superintendent of Public Instruction appointed an Independent Hearing Officer (IHO,

       the equivalent of an administrative law judge) to preside over Due Process I and issue a

       final decision.

    14. Generally, Due Process I alleged that the District committed various violations of IDEA

       which denied M.H. a free appropriate public education, framed several issues for hearing

       and proposed a variety of remedies.

    15. A redacted copy of Due Process I is attached hereto and incorporated by reference herein

       as Exhibit A.

    16. Throughout the pendency of Due Process I, both parties were represented by two

       attorneys supported by paralegals.

    17. A week after filing Due Process I, on or about February 17, 2020, Plaintiff sent the

       District a written settlement proposal. Among the items which Plaintiff requested in his

       proposal were a private placement of M.H. in a therapeutic day program and payment of

       Plaintiff’s reasonable attorney fees.

    18. In an effort to find a suitable private placement for M.H. (which was the District’s legal

       responsibility), Plaintiff had him undergo an assessment by the St. Vincent therapeutic

       day school in Indianapolis, which determined that he was a candidate for its program, so

       Plaintiff asked the District to place him there.

    19. The District responded to Plaintiff’s proposal by letter dated February 27, 2020. It refused

       to provide M.H. with a private placement and refused to pay any of Plaintiff’s attorney


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              fees, leading him to reasonably believe that the District was not interested in settlement

              at that time. 1

         20. Over the next several weeks, the District failed to provide any services to M.H. This not

              only violated IDEA and Indiana’s Article 7, but caused M.H.’s condition to deteriorate

              significantly, resulting in his admission to Harsha Behavioral Center (a psychiatric

              treatment facility in Terre Haute) as an inpatient on or about April 8, 2020. This was

              M.H.’s second admission to that facility and his third inpatient hospitalization in six

              months (having been previously admitted to Harsha and Bloomington Meadows Hospital

              for acute mental health crises). As a result of this development, Plaintiff informed the

              District that he was not in a position to discuss settlement at that time because, among

              other things, it was unknown what type of placement M.H. was going to require since his

              hospitalization suggested that he might require a more restrictive placement than a public

              school or even a therapeutic day program could provide.

         21. Indeed, Darla Hinshaw, M.D., M.H.’s treating psychiatrist at Harsha, recommended that

              he be placed in a psychiatric residential treatment facility (PRTF) upon his discharge

              from Harsha in May of 2020.

         22. Even before M.H. was discharged from Harsha, Plaintiff, while not a mental health

              professional, had good cause to believe that M.H. required a residential placement. His

              attorneys researched residential programs across the country, making contact with no less

              than 14 different programs in an effort to find M.H. a suitable placement, even though

              doing so was the District’s legal responsibility.




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    At that point, Plaintiff had incurred around $6,000 in attorney fees.

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    23. On May 5, 2020, the District made an offer which proposed a residential placement at

       Gibault in Terre Haute (which had not accepted M.H. at that time and ultimately did not

       accept him) and payment of $5,000 in Plaintiff’s attorney fees. The District did not

       provide M.H. with educational services at that time nor did it specify what compensatory

       services it would provide in order to remediate the months that M.H. had not received

       any academic instruction, counseling or behavioral services from the District.

    24. Plaintiff responded that same day with a letter rejecting the District’s offer and attaching

       an invoice documenting that he had incurred approximately $30,000 in attorney fees as

       of that date because of the District’s failure to make an offer which met his son’s needs.

    25. While M.H. was still hospitalized at Harsha, on May 8, 2020, the parties convened a case

       conference and Plaintiff asked the District to maintain M.H.’s placement at Harsha until

       a long-term residential placement could be secured. The District refused Plaintiff’s

       request, resulting in his discharge from Harsha six days later.

    26. Even after M.H. was discharged from Harsha, instead of stepping in to help him, the

       District continued to sit idly by and let his condition worsen, failing to provide him with

       any educational or psychological services whatsoever. Nor did the District secure an

       appropriate educational placement for M.H. or make Plaintiff an offer which would

       remedy its ongoing failure to provide M.H. with the necessary services.

    27. On June 5, 2020, the District made an offer which did not include a placement that had

       been secured for M.H., adequate compensatory services or the provision of current

       services. The District’s offer included payment of $15,000 in Plaintiff’s attorney fees, or

       one-half of the amount which Plaintiff had incurred and documented as of one month

       earlier.


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    28. Between May and July 2020, the parties continued to exchange written correspondence

       making settlement demands and offers as Plaintiff’s counsel continued working to find a

       placement capable of providing M.H. with the necessary educational services. During

       this time, he was not placed as no residential program had accepted or agreed to accept

       him and the District was still providing him with absolutely no services whatsoever,

       giving rise to an increasingly substantial compensatory services claim.

    29. Rather than find a placement for M.H. or provide him services, the District continued to

       insist that Plaintiff should just “settle” the action without a placement secured, without

       any services being provided and with no clear-cut plan as to what services M.H. would

       be provided, when and by whom.

    30. The District’s repeated attempts to dismiss the Due Process proceedings and coerce

       Plaintiff to accept its inadequate settlement offers ignore a parent’s right to an impartial

       Due Process Hearing, which is clearly established in federal and state law and includes

       the right to present evidence and confront, cross-examine and compel the attendance of

       witnesses.

    31. In an attempt to lay the groundwork for its defense to the instant Complaint, during the

       parties’ back-and-forth the District repeatedly accused Plaintiff (whose attorneys were

       busy trying to find M.H. a placement) of “protracting litigation” and “unnecessarily

       increasing fees,” which it called “inflated.”

    32. Not only did the District fail to provide M.H. with any educational or psychological

       services between February and July, it forced Plaintiff and his counsel to do the work of

       finding him a suitable placement—all the while making offers which fell woefully short

       of meeting M.H.’s needs in an effort to portray itself as “reasonable.”


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    33. The District’s settlement tactics forced Plaintiff to choose between accepting an

       inadequate proposal which did not meet M.H.’s needs in order to get his case over with

       or being mired in litigation which could drag on for months (longer if there were an

       appeal).

    34. Each and every offer which the District made, starting June 5th and going forward,

       included an offer to pay only $15,000 of Plaintiff’s attorney fees, notwithstanding the

       fact that he had already incurred and documented twice that amount as of one month prior

       and the District had to have known that Plaintiff continued to incur fees since then.

    35. Beyond that, the settlement offers which the District made between February and July

       did not include all of the relief which Plaintiff was seeking and which was ultimately

       ordered by the IHO (as explained below); therefore, Plaintiff was substantially justified

       in rejecting them.

    36. Plaintiff continued researching placements across the country in an effort to find a

       suitable program for M.H. Meantime, while Due Process I was pending, on or about May

       22, 2020, the District developed a new Individualized Education Program (IEP) for M.H.

    37. It was not until approximately July 1, 2020, that M.H. was finally placed in a residential

       program (Chaddock in Quincy, IL), and then only because Plaintiff’s counsel had spent

       months researching, making phone calls, doing legwork and making arrangements—all

       of which they were forced to do because the District did not fulfill its obligations.

    38. From approximately February through June of 2020, the District did not provide M.H.

       with any special education or related services whatsoever. Even when M.H. was finally

       placed in an out-of-state residential program in July, it was entirely due to the efforts of




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         Plaintiff’s counsel; the District never offered a residential placement that was ready,

         willing and able to accept M.H.

     39. On or about July 6, 2020, Plaintiff filed a second Request for Due Process Hearing (“Due

         Process II”) alleging various deficiencies in the new IEP which the District had

         developed. A redacted copy of Due Process II is attached hereto and incorporated by

         reference herein as Exhibit B.

     40. As with Due Process I, throughout the pendency of Due Process II, both parties were

         represented by two attorneys supported by paralegals.

     41. In accordance with the Indiana Department of Education’s standard practice, the same

         IHO who had been appointed to preside over Due Process I was assigned to hear Due

         Process II.

     42. On July 16, 2020, the IHO issued an order framing the issues for hearing in Due Process

         I. See Amended Issues for the Hearing attached hereto as Exhibit C.

     43. During the month of July, the parties continued their settlement discussions, culminating

         in an offer from the District dated July 28, 2020. After some negotiation, the parties

         jointly tendered a proposed Findings, Final Order and Agreed Judgment Entry which the

         IHO signed for both Due Process I and II on August 7, 2020 (“Agreed Entry”). A true

         and accurate copy of the Agreed Entry (with exhibit redacted) is attached hereto as

         Exhibit D.

     44. Prior to its offer dated July 28, 2020, none of the District’s offers included all of the relief

         sought by Plaintiff or ordered in the Agreed Entry; even its July 28th offer only included

         payment of less than half of Plaintiff’s attorney fees (despite the fact that he had incurred

         twice that amount by early May) and no additional compensatory service hours.


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     45. The Agreed Entry orders relief more favorable than that offered by the District in any of

        its settlement offers made between February 27 and July 8, 2020.

     46. A comparison of the relief which Plaintiff requested in Due Process I and II (Ex. A and

        B), the IHO’s order framing the issues for hearing (Ex. C) and the Agreed Entry (Ex.

        D) reveals that the IHO ruled in Plaintiff’s favor and ordered the District to provide

        Plaintiff with all (or substantially all) of the relief he requested.

     47. In her Agreed Entry, the IHO made several findings which include (a) the District denied

        M.H. FAPE; and (b) Plaintiff is the “prevailing party on all issues delineated” in Due

        Process I and II. (Ex. D, ¶s 14 and 15)

     48. Among other things, the Agreed Entry also ordered the District to: provide M.H. with a

        residential placement at its sole expense and reimburse Plaintiff for travel and lodging

        expenses; pay for an independent functional behavior assessment (FBA) of M.H. at

        public expense when he returns to public school; pay for the FBA evaluator to develop a

        behavior intervention plan (BIP) for M.H. and train Plaintiff and school staff on

        implementing the BIP; pay for an independent assistive technology (AT) evaluation of

        M.H.; pay for an independent speech-language evaluation of M.H.; reimburse Plaintiff

        for the Independent Educational Evaluation (IEE) of M.H. which Abigail Cole, Psy.D.,

        HSPP conducted in the spring of 2020; provide M.H. with special education and related

        services consistent with Dr. Cole’s recommendations; periodically re-evaluate M.H.

        following his discharge from the residential placement; pay for two of M.H.’s private

        providers to attend his case conferences; develop a transition plan for M.H.’s return to

        public school; and provide M.H. with 300 hours of compensatory educational services.

        (Ex. D, ¶s 16-36)


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     49. The IHO’s Agreed Entry expressly entered judgment in favor of Plaintiff and against the

         District. (Ex. D, ¶37)

     50. The Agreed Entry expressly adjudicates Plaintiff the “prevailing party” in the

         administrative proceedings. (Ex. D, ¶15)

     51. In addition, Plaintiff is the prevailing party for purposes of 20 U.S.C. § 1415(i)(3)(B)

         because the Agreed Entry alters the legal relationship between the parties, Plaintiff

         succeeded on the merits of all the issues in the Due Process hearing requests and

         obtained most of the relief which he sought in his Due Process hearing requests.

     52. Since the IHO lacks jurisdiction to award attorney fees, the Agreed Entry expressly does

         not include those.

     53. Under the Agreed Entry, Plaintiff is the “prevailing party” in both Due Process I and I.

     54. As such, Plaintiff is entitled to recover his reasonable attorney fees incurred prosecuting

         both of the Due Process matters and the instant action.

     55. As of the date of this filing, Plaintiff has incurred approximately $50,000 in reasonable

         attorney fees. Since this matter is still pending, Plaintiff continues to incur attorney fees

         and reserves the right to seek recovery of additional reasonable fees incurred after filing

         this Complaint for legal services rendered prosecuting this action.



                                              V.

                                      RELIEF SOUGHT

       Plaintiff respectfully requests the following relief:

    1. Judgment in his favor and against Defendant;




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    2. An award of reasonable attorney fees and costs incurred in prosecuting Due Process I and

       Due Process II;

    3. An award of reasonable attorney fees and costs incurred prosecuting this action;

    4. Pre- and post-judgment interest as allowed by law;

    5. Costs of this action; and

    6. All other relief reasonable in the premises.




                                                      Respectfully submitted



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